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  8                          UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10                                  WESTERN DIVISION
 11
 12    OX LABS INC., a California                   Case No. CV 18-5934-MWF(KSx)
       Corporation,
 13                                                 NOTICE OF RATIFICATION
 14                 Plaintiff,                      AND RATIFICATION BY SFOX,
                                                    INC. PURSUANT TO FED. R.
 15                        vs.                      CIV. P. 17(a)(3)
 16    BITPAY, INC., a Delaware
 17
       Corporation, and Does 1-10,

 18                 Defendants.
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      NOTICE OF RATIFICATION AND RATIFICATION PURSUANT TO FRCP 17(a)(3)
      Case No. CV 18-5934-MWF(KSx)
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  1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2         PLEASE TAKE NOTICE that Plaintiff Ox Labs, Inc. (“Ox Labs”) hereby
  3   submits this Ratification by SFOX, Inc. (“SFOX”), its wholly-owned subsidiary, of
  4   this action brought by Ox Labs against Defendant Bitpay, Inc. (“Bitpay”).
  5         Ox Labs believes that it is the real party in interest in this action. It wholly
  6   owns SFOX, all relevant negotiations and communications regarding the substance
  7   of this matter have been performed by Ox Labs’ executives, and the financial harms
  8   alleged in the Complaint directly impact Ox Labs’ bottom line. However,
  9   Defendant questioned Ox Labs’ status as the real party in interest in its Motion for
 10   Summary Judgment (Dkt. 29), and the Court has ordered the parties to meet and
 11   confer to resolve the issue. (Dkt. 36 at p.6.) After meeting and conferring with
 12   Defendant, in order to comply with this Court’s order and avoid unnecessary
 13   litigation, and out of an abundance of caution, Ox Labs submits this Notice of
 14   Ratification and Ratification pursuant to Federal Rule of Civil Procedure Rule
 15   17(a)(3). See generally Mutuelles Unies v. Kroll & Lindstrom, 957 F.2d 707 (9th
 16   Cir. 1992).
 17         Rule 17(a)(3) requires a ratifying party to authorize continuation of the action
 18   and to agree to be bound by the lawsuit’s result. Fed. R. Civ. P. 17(a)(3); Mutuelles
 19   Unies, supra, 957 F.2d at 712. SFOX hereby ratifies and authorizes both the
 20   commencement and continuation of this action by the current plaintiff, Ox Labs.
 21   See Declaration of George Melika on Behalf of SFOX, Inc. Ratifying Action by
 22   Plaintiff Ox Labs, Inc. (“Melika Declaration”), attached hereto as Exhibit A, at
 23   ¶¶ 3-4. SFOX also agrees to be bound by the result of the action. Id. at ¶ 4. This
 24   includes any judgment which may be rendered in this action determining liability
 25   for the incident at issue, as well as any damages or other relief found recoverable
 26   from Defendant. Id. SFOX further agrees that it will not commence any separate
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  1   action against Defendant based on the same set of facts and circumstances at issue
  2   in this case. Id. at ¶ 5.
  3
  4   Dated: October 17, 2019                        Respectfully Submitted,
  5                                                  LEIDER + AYALA-BASS LLP
  6                                          By:       /s/ Philip. A. Leider
  7                                                  Philip A. Leider

  8                                                  Attorneys for Ox Labs Inc.

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  1                             CERTIFICATE OF SERVICE
  2         I certify that counsel of record, listed below, is being served on October 17,
  3   2019, with a copy of this document through the CM/ECF Filing System as identified
  4   on the Notice of Electronic Filing dated October 17, 2019.
  5
                                                                   /s/ Anahit Samarjian
  6                                                                Anahit Samarjian
  7
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